Case 2:23-cv-00493-GMN-BNW Document 2 Filed 04/04/23 Page 1 of 4

 

_V_ FILED ____RECE
LISP ENTERED __SERV

Alfred Clark COUNSEL/PARTIES OF R
5613 HARMONY AVE.

LAS VEGAS. NEVADA 89107 APR 04 2023
es CLERK US DISTR
Liteone62@yahoo.com ICT COUR
Plaintiff, In Proper Person DISTRICT OF NEVADA

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UNITED STATES DISTRICT COURT FOR THE STATE
OF NEVADA

Alfred Clark
Case No.:
Plaintiff,
NOTICE OF PENDENCY OF
vs. ACTION

 

USBANK NATIONAL ASSOCIATION;
WESTERN PROGRESSIVE —- NEVADA, INC.;

PHH MORTGAGE SERVICES 2:23-cv-00493-GMN-BNW

Defendants.

 

LIS PENDENS

PLEASE TAKE NOTICE that this action was commenced in the above named court by
the above entitled Plaintiff against the above entitled Defendants, and is now pending.

The Plaintiff alleges a real property claim affecting real property located at 5613
Harmony Ave., Las Vegas, Nevada 89107.

The land herein referred to is situation in the County of CLARK, State of NEVADA and
bears the legal description as follows:

1. 5613 Harmony Ave., Las Vegas. Nevada 89107 (the “Property”, further
described as Assessor's Parcel Number 138-36-110-054, with the following description:

PARCEL I:

Page | of 4

 

 

 

 

 
 

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Case 2:23-cv-00493-GMN-BNW Document 2 Filed 04/04/23 Page 2 of 4

Legal Description: Lot 20, in Block 6, of Charleston Heights Tract No. 31-A, in
the City of Las Vegas, County of Clark, State of Nevada, as shown on map filed in Book 6, Page

49 of Maps. in the office of the County Recorder of said County.

VERIFICATION
] am the Plaintiff in this case. The foregoing complaint is true of my own knowledge,
except as to those matters stated on information or belief, and as to those matters, I believe it to

be true.

DATED this_Y day of Agri/ 2023

Pursuant to NRS 53.045, I declare under penalty of
perjury that the foregoing is true and correct.

_ By; bf Wd?

Alfred Clark, All Rights Reserved

5613 HARMONY AVE.

LAS VEGAS, NEVADA 89107
702-559-8668
Liteone62(@yahoo.com

Plaintiff, In Propria Persona

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Case 2:23-cv-00493-GMN-BNW Document 2 Filed 04/04/23 Page 3 of 4

JURAT

 

 

A notary public or other officer completing this certificate verifies only the identity of the
individual who signed the document to which this certificate is attached, and not the

truthfulness, accuracy, or validity of that document

 

 

 

 

State of Nevada)
) subscribed and affirmed:

County of Clark)

On this Lh day of Ay NA \ , 2023, before me, the undersigned. a Notary

Public in and for State of Nevada, Alfred Clark, personally appeared before me, known to
me to be the one whose name is signed on this instrument, and has acknowledged to me

that he has executed the same.

Signed: Duvgpcer aad Seal

Printed Name: Ay\gel zea. Lees

 

   
 

“ie, ANGELEENA REYES
ee ONia Notary Public, State of Nevada

a) No. 22-0762-01
ie” My Appt. Exp. May 18, 2026

Date: us | Ly uw

 

 

My Commission Expires: Nia \% Td2Lo

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CERTIFICATE OF MAILING

| HEREBY CERTIFY that on the 4 day of Marit 202.3,

] placed a true and correct copy of the foregoing LIS PENDENS in the United States Mail, with

first-class postage prepaid, addressed to the following:

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D5

 

 

PHH Mortgage Services

P.O.BOX 24738 Certified Mail No.7021-2720-0000-8802-3697
West Palm Beach, FL 33416

Western Progressive — Nevada, Inc.
1000 Abernathy Road NE. Bldg. 400

Suite 200 Certified Mail No.7021-2720-0000-8802-3703
Atlanta, GA 30328

USBank National Association
60 Livingston Ave. Certified Mail No.7021-2720-0000-8802-3710
St. Paul. MN 55107

DATED this_ SY _ day of Kort 2023

Pursuant to NRS 53.045, I declare under penalty of

perjury that the foregoing is true and correct.

By; Of he

Alfred Clark, All Rights Reserved

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